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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                       MIDLAND/ODESSA DIVISION

MICHAEL FAYO and JOSH                    §
MUTSCHLER, Individually and On           §
Behalf of All Others Similarly Situated, §
                                         §
              Plaintiffs,                §            No. _________________
                                         §
v.                                       §
                                         §
FORZA PIPELINE SERVICES,                 §
INC. and FORZA SAFETY, L.L.C.,           §
                                         §
              Defendants.                §

                    PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiffs Michael Fayo and Josh Mutschler (hereafter referred

to as “Plaintiffs”) bringing this collective action and lawsuit on behalf of themselves

and all other similarly situated employees to recover unpaid overtime wages from

Defendants Forza Pipeline Services, Inc. and Forza Safety, L.L.C. (collectively

referred to as “Defendants” or “Forza”). In support thereof, they would respectfully

show the Court as follows:

                                  I. Nature of Suit

       1.     Plaintiffs’ claims arise under the Fair Labor Standards Act of 1938, 29

U.S.C. §§ 201-219 (“FLSA”).
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         2.       The FLSA was enacted to eliminate “labor conditions detrimental to the

maintenance of the minimum standard of living necessary for health, efficiency and

general well-being of workers … .” 29 U.S.C. § 202(a). To achieve its humanitarian

goals, the FLSA defines appropriate pay deductions and sets overtime pay, minimum

wage, and recordkeeping requirements for covered employers. 29 U.S.C. §§ 206(a),

207(a), 211(c).

         3.       Forza violated the FLSA by employing Plaintiffs and other similarly

situated nonexempt employees “for a workweek longer than forty hours [but refusing

to compensate them] for [their] employment in excess of [forty] hours … at a rate not

less than one and one-half times the regular rate at which [they are or were] employed.”

29 U.S.C. § 207(a)(1).

         4.       Forza violated the FLSA by failing to maintain accurate time and pay

records for Plaintiffs and other similarly situated nonexempt employees as required by

29 U.S.C. § 211(c) and 29 C.F.R. pt. 516.

         5.       Plaintiffs bring this collective action under 29 U.S.C. § 216(b) on behalf

of themselves and all other similarly situated employees to recover unpaid overtime

wages.

                                  II. Jurisdiction & Venue

         6.       The Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331

and 29 U.S.C. § 216(b) because it arises under the FLSA, a federal statute.




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       7.     Venue is proper in this district and division pursuant to 28 U.S.C. §§

1391(b)(1)-(2) because Defendants reside in the Midland/Odessa Division of the

Western District of Texas and/or a substantial part of the events or omissions giving

rise to Plaintiffs’ claims occurred in the Midland/Odessa Division of the Western

District of Texas.

                                    III. Parties

       8.     Michael Fayo is an individual who resides in Lea County, New Mexico

and who was employed by Forza during the last three years.

       9.     Josh Mutschler is an individual who resides in Leon County, Texas and

who was employed by Forza during the last three years.

       10.    Forza Pipeline Services, Inc. is a Texas corporation that may be served

with process by serving its registered agent: Albert Bernal, at 3402 73rd Street,

Lubbock, Texas 79423.     Alternatively, if the registered agent of Forza Pipeline

Services, Inc. cannot with reasonable diligence be found at the company’s registered

office, Forza Pipeline Services, Inc. may be served with process by serving the Texas

Secretary of State pursuant to TEX. BUS. ORG. CODE § 5.251 and TEX. CIV. PRAC. &

REM. CODE § 17.026.

       11.    Forza Safety, L.L.C. is a Texas limited liability company that may be

served with process by serving its registered agent: Charles Perry, at 11003 Quaker

Ave, Lubbock, Texas 79424. Alternatively, if the registered agent of Forza Safety,

L.L.C. cannot with reasonable diligence be found at the company’s registered office,


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Forza Safety, L.L.C. may be served with process by serving the Texas Secretary of

State pursuant to TEX. BUS. ORG. CODE § 5.251 and TEX. CIV. PRAC. & REM. CODE

§ 17.026

         12.   Whenever it is alleged that Defendants committed any act or omission,

it is meant that company’s officers, directors, vice-principals, agents, servants or

employees committed such act or omission and that, at the time such act or omission

was committed, it was done with the full authorization, ratification or approval of Forza

or was done in the routine and normal course and scope of employment of the

company’s officers, directors, vice-principals, agents, servants or employees.

                                        IV. Facts

         11.   Forza is a portable sanitation and septic services company that provides

services the oil and gas industry; it does business in the territorial jurisdiction of this

Court.

         12.   Forza has at least 3 locations within the territorial jurisdiction of this

Court: a)      5000 Highway 158, Midland, TX 79706; b)              406     North     Oak

Kermit, TX 79745; and c)      419 South Oak Pecos, TX 79772.

         13.   Forza employed Michael Fayo as a Safety Coordinator from

approximately August 2018 to October 2018.

         14.   Forza employed Josh Mutschler as an Operator from approximately

March 2018 to August 2018 and as a Safety Technician from approximately August

2018 to September 2018.


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       15.     During Plaintiffs’ employment with Forza, they were engaged in

commerce or the production of goods for commerce.

       16.     During Plaintiffs’ employment with Forza, the company had employees

engaged in commerce or in the production of goods for commerce.

       17.     During Plaintiffs’ employment with Forza, the company had employees

handling, selling or otherwise working on goods or materials that had been moved in

or produced for commerce by others.

       18.     During Plaintiffs’ employment with Forza, the company had an annual

gross volume of sales made or business done of at least $500,000.

       19.     Forza did not pay Fayo on a salary basis, as properly defined in 29

C.F.R. § 541.602.

       20.     Forza’s pay was subject to deduction because of the “quality or quantity”

of his work.

       21.     Forza did not receive his full weekly salary regardless of the number or

hours or days he worked.

       22.     Forza paid Mutschler on an hourly basis.

       23.     During Plaintiffs’ employment with Forza, they regularly worked in

excess of forty hours per week.

       24.     Forza knew or reasonably should have known that Plaintiffs worked in

excess of forty hours per week.




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        25.    Forza did not pay Plaintiffs overtime “at a rate not less than one and

one-half times the regular rate at which they [were] employed.” 29 U.S.C. § 207(a)(1).

        26.    Instead, Forza paid Operators and Safety Technicians, including

Mutschler, for hours worked over forty per week at their straight time rate in violation

of 29 U.S.C. § 207(a)(1).

        27.    In other words, Forza paid Plaintiffs for their overtime at a rate less than

one and one-half times the regular rate at which they were employed in violation of the

FLSA.

        28.    Forza knew or reasonably should have known that Plaintiffs were not

exempt from the overtime provisions of the FLSA.

        29.    Forza failed to maintain accurate time and pay records for Plaintiffs as

required by 29 U.S.C. § 211(c) and 29 C.F.R. pt. 516.

        30.    Forza knew or showed a reckless disregard for whether its pay practices

violated the FLSA.

        31.    Forza is liable to Plaintiffs for their unpaid overtime wages, liquidated

damages and attorney’s fees and costs pursuant to 29 U.S.C. § 216(b).

        32.    All Operators, Safety Technicians, and Safety Coordinators employed

by Forza are similarly situated to Plaintiffs because they (1) have similar job duties; (2)

regularly work in excess of forty hours per week; (3) are not paid overtime for the hours

they work in excess of forty per week as required by 29 U.S.C. § 207(a)(1) and (4) are




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entitled to recover their unpaid overtime wages, liquidated damages and attorneys’ fees

and costs from Forza pursuant to 29 U.S.C. § 216(b).

        V. Count One—Failure To Pay Overtime in Violation of 29 U.S.C. § 207(a)

        33.   Plaintiffs adopt by reference all of the facts set forth above. See, FED.

R. CIV. P. 10(c).

        34.   During Plaintiffs’ employment with Forza, they were nonexempt

employees.

        35.   As nonexempt employees, Forza was legally obligated to pay Plaintiffs

“at a rate not less than one and one-half times the regular rate at which they [were]

employed[]” for the hours that they worked over forty in a workweek. 29 U.S.C. §

207(a)(1).

        36.   Forza did not pay Plaintiffs overtime “at a rate not less than one and

one-half times the regular rate at which they [were] employed.” 29 U.S.C. § 207(a)(1).

        37.   In other words, Forza paid Plaintiffs for their overtime at a rate less than

one and one-half times the regular rate at which they were employed in violation of the

FLSA.

        38.   If Forza classified Plaintiffs as exempt from the overtime requirements

of the FLSA, they were misclassified because no exemption excuses the company’s

noncompliance with the overtime requirements of the FLSA.




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       39.    Alternatively, because Forza did not intend to pay Fayo on a salary basis,

based upon the improper deductions, Forza has waived/lost its ability to claim any

salary-based exemption.

       40.    Forza knew or showed a reckless disregard for whether its pay practices

violated the overtime requirements of the FLSA. In other words, Forza willfully

violated the overtime requirements of the FLSA.

                VI. Count Two—Failure To Maintain Accurate Records in
                         Violation of 29 U.S.C. § 211(c)

       41.    Plaintiffs adopt by reference all of the facts set forth above. See, FED.

R. CIV. P. 10(c).

       42.    The FLSA requires employers to keep accurate records of hours worked

by and wages paid to nonexempt employees. 29 U.S.C. § 211(c); 29 C.F.R. pt. 516.

       43.    In addition to the pay violations of the FLSA described above, Forza

also failed to keep proper time and pay records as required by the FLSA.

                     VII. Count Three—Collective Action Allegations

       44.    Plaintiffs adopt by reference all of the facts set forth above. See, FED.

R. CIV. P. 10(c).

       45.    On information and belief, other employees have been victimized by

Forza’s violations of the FLSA identified above.

       46.    These employees are similarly situated to Plaintiffs because, during the

relevant time period, they held similar positions, were compensated in a similar manner



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and were denied overtime wages at one and one-half times their regular rates for hours

worked over forty in a workweek.

       47.     Forza’s policy or practice of failing to pay overtime compensation is a

generally applicable policy or practice and does not depend on the personal

circumstances of the putative class members.

       48.     Since, on information and belief, Plaintiff’s experiences are typical of the

experiences of the putative class members, collective action treatment is appropriate.

       49.     All Operators, Safety Technicians, and Safety Coordinators employed

by Forza, regardless of their rates of pay, paid at a rate less than one and one-half times

the regular rates at which they were employed for the hours that they worked over forty

in a workweek are similarly situated. Although the issue of damages may be individual

in character, there is no detraction from the common nucleus of liability facts. The

Class is therefore properly defined as:

               All Operators and Safety Technicians employed by Forza during
               the last three years that were improperly paid straight time for
               overtime.

               All Safety Coordinators employed by Forza during the last three
               years that were paid on a salary basis, subject to deductions.

       50.     Forza is liable to Plaintiffs and the other Operators, Safety Technicians,

and Safety Coordinators for the difference between what it actually paid them and what

it was legally obligated to pay them.




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       51.     Because Forza knew and/or showed a reckless disregard for whether its

pay practices violated the FLSA, the company owes Plaintiffs and the other Operators,

Safety Technicians, and Safety Coordinators their unpaid overtime wages for at least

the last three years.

       52.     Forza is liable to Plaintiffs and the other Operators, Safety Technicians,

and Safety Coordinators in an amount equal to their unpaid overtime wages as

liquidated damages.

       53.     Forza is liable to Plaintiffs and the other Operators, Safety Technicians,

and Safety Coordinators for their reasonable attorneys’ fees and costs.

       54.     Plaintiffs have retained counsel who are well versed in FLSA collective

action litigation and who are prepared to litigate this matter vigorously on behalf of

him and all other putative class members.

                                          VIII. Prayer

       55.     Plaintiffs pray for the following relief:

                   a. an order allowing this action to proceed as a collective action
                      under 29 U.S.C § 216(b);

                   b. judgment awarding Plaintiffs and all other Operators, Safety
                      Technicians, and Safety Coordinators all unpaid overtime
                      compensation, liquidated damages, attorneys’ fees and costs;

                   c. postjudgment interest at the applicable rate;

                   d. incentive awards for any class representative(s); and

                   e. all such other and further relief to which Plaintiffs and the other
                      Operators, Safety Technicians, and Safety Coordinators may
                      show themselves to be justly entitled.


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                                           Respectfully submitted,
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